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                                                                                   U.s. OISIRICTCOURT
                                 UNITED STATES DISTRICT COURT                  EASGRN DBIRICT OF TOUISI,A,FTA
                               EASTERN DISTRICT OF LOUISIANA
                                                                                   FILED    ilAY   I 6 2022 4
                                                     CNIL ACTION
Catherine Brown
                                                                                           GAROLLUE}E-
                                                                                              q.Eru(
Plaintiff                                           No.2l-1844


                                                    Case 2;21 -cv-O 1 844-JTM-JVM
-vs-

MINYANGO TOKPAH, SHAKIM HARRIS,
TANISHA WRIGHT, ANDREA MICHELLE
STEWART, JONTE MILLER, and THERESA
D. BRUNSON

Defendants


                                       ANSWER TO SUMMONS

I, Anthony Okafor, MAKE OATH AND SAY THAT

1.   I have NEVER intentionally engaged in a continual and ongoing pattern of cyber stalking,
     harassment, defamation, NEVER made threats to Ms Catherine Brown's peace, reputation, life and
     safety, NEVER intentionally inflicted emotional distress to Ms Brown and NEVER intentionally
     engaged in other cyber and online harassment, crimes and   civilly tortuous   acts towards Ms Brown.


2.   I have NEVER been aligned with The Anti Fraud Warriors LLC or The Good Guyz to intentionally
     engage in a continual and ongoing pattern of cyber stalking, harassment, defamation, NEVER made
     threats to Ms Catherine Brown's peace, reputation, life and safety on behalf of or in unison              the     {
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     aforementioned entities, NEVER intentionally inflicted emotional distress on behalf of or in
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     with the aforementioned entities towards Ms Brown and NEVER intentionally engaged                           =
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     cyber and online harassment, crimes and civilly tortuous acts on behalf of or in unison                           (f
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     aforementioned entities towards Ms Brown.                                                      oo                 o
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     in a continual and ongoing pattem of cyber stalking, harassment, defamation, NEVER
     to Ms Catherine Brown's peace, reputation, life and safety on behalf of or in unison with the
     aforementioned individuals, NEVER intentionally inflicted emotional distress on Ms Brown on
     behalf of or in unison with the aforementioned individuals on and NEVER




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  intentionally engaged in other cyber and online harassment, crimes and civilly tortuous acts on Ms
  Brown on behalf of or in unison with the aforementioned individuals.


  4. I have NEVER impersonated Ms Catherine Brown in chat rooms or on livestream panels in an
       attempt to intentionally engage in a continual and ongoing pattern of cyber stalking, harassment,
       defamation, NEVER made threats to Ms Catherine Brown's peace, reputation, life and safety on the
       aforementioned chat rooms and livestream panels, NEVER intentionally inflicted emotional
       distress on Ms Brown in the aforementioned chatrooms or livestream panels and NEVER
       intentionally engaged in other cyber and online harassment, crimes and civilly tortuous acts to Ms
       Brown on the aforementioned chat rooms and livestream panels.


  5.   I have NEVER paid Mr Shakim Harris or ANY OTHER CONTENT CREATOR to attack or to
       intentionally engage in a continual and ongoing pattern of cyber stalking, harassment, defamation,
       NEVER paid the aforementioned individual Mr Harris or any other content creator to make threats
       to Ms Brown's peace, reputation, life and safety, NEVER paid the aforementioned individual Mr
       Harris or any other content creator to intentionally inflict emotional distress on Ms Catherine
       Brown and NEVER paid the aforementioned Mr Harris to intentionally engage in other cyber and
       online harassment, crimes and civilly tortuous acts to Ms Brown.



  6.   I am NOT the current or former owner of multiple alleged "troll" accounts and have NEVER
       utilized alleged "troll" accounts to intentionally engage in a continual and ongoing pattem of cyber
       stalking, harassment, defamation directed towards Ms Catherine Brown or any other individual,
       past or present, NEVER utilized alleged  "troll" accounts to make threats to Ms Catherine Brown's
       peace, reputation, life and safety, NEVER intentionally inflicted emotional distress to Ms Brown
       with alleged "troll" accounts and NEVER intentionally engaged in other cyber and online
       harassment, crimes and civilly tortuous acts directed towards Ms Brown using alleged "troll"
       accounts.


  7.   I have NEVER referred to Ms Catherine Brown as a "crackhead dog", NEVER harassed Ms Brown
       for going to police for protection against TCTV, and NEVER attempted to dehumanize Ms Brown
       in ANY online postings. I have also NEVER manufactured any derogatory names in reference to
       Ms Brown.


  8.   I AM NOT AND HAVE NEVER BEEN A main affiliate or "troll" acting in concert with the "The
       Good Guys" in harassing, defaming and threatening Ms Brown.
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     9. I have NEVER sent cashapp messages to              Mr Shakim Harris or ANY OTHER CONTENT
       CREATOR and NEVER told aforementioned individuals to say the alleged funding came from Ms
       Catherine Brown in an effort to portray or insinuate that Ms Brown was directly intending to incite
       violence, violent threats, cyber stalking and harassment towards herself.


 10.   IT HAS NEVER BEEN MY'Job" to keep Ms Brown's name constantly repeated on ANY YouTube
       public broadcasts WHATSOEVER, I NEVER committed any acts to perpetrate a culture of cyber
       stalking, cyber attacking, defamation and sexual humiliation, and I NEVER instigated and NEVER
       incited hatred (in others) to physically accost Ms Brown offline, and I NEVER targeted Ms Brown's
       businesses, business associates and or family members to damage them by "exposing" them.


 I   l. I AFFIRM     the fact that I utilized my Federally protected FIRST AMENDMENT RIGHTS to give
       commentary on the statements and behaviors Ms Brown broadcasted online.


 12.   I AFFIRM the fact that I utilized my Federally protected FIRST AMENDMENT RIGHTS to mention
       Ms Brown during livestreams and chatroom comments as "Aspirin Clown" or "CB" in a funny
       attempt to give commentary on Ms Brown's online actions without mentioning her real ruIme.


 13.   I AFFIRM the fact that my affiliation to the named content creators in this lawsuit ONLY involved
       me being a viewer, chatroom participant and panelist of the livestreams and videos of the content
       creators mentioned herein this lawsuit. Nothing more, nothing less.




       Dated:O5   P7lTOD
                                                                              2951 Fair Oaks Ave
                                                                              Altadena, CA 91001
                                                                              323-691-3728




                         Certificate of Service
       I hereby certifr that I have served a copy ofthis
       document on all
       by




                             Signature
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